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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO

 IN RE:                                              CASE NO. 20-cv-01344 (ADC)

 CONDADO 5, LLC

          Appellant                                  APPEAL FROM THE U.S. BANKRUPTCY
                                                     COURT FOR THE DISTRICT OF
              vs.                                    PUERTO RICO

 VAQUERÍA LAS MARTAS, INC.

          Appellee

 JOSE R. CARRION

          Chapter 12 Trustee

                       MOTION TO STAY APPELLATE PROCEEDINGS

TO THE HONORABLE COURT:

       COMES NOW, appellant Condado 5, LLC (“Condado” or “Appellant”), through the

undersigned counsel, and respectfully states and prays as follows:

       1.       Condado and the Chapter 12 Standing Trustee filed an appeal and cross-appeal,

respectively, from the Opinion and Order and the Order Denying Motion for Reconsideration

issued by the Bankruptcy Court. See Notice of Appeal, Docket No. 1-1; Notice of Cross Appeal,

Docket No. 4-1.

       2.       On June 1, 2020, the Debtor filed a Chapter 12 Payment Plan (the “Plan”, Bankr.

Case No. 18-07304, Docket No. 137, attached here to as Exhibit I) with the Bankruptcy Court,

proposing the following treatment for Condado’s claim:

       III Condado 5 to be paid value of its secured claim #6 [$205,000 residence Paseo
       Esmeralda, Arecibo + $109,118 27.28 cuerdas Bo. Naranjio, Hatillo] @ $313,118 w/
       4.5% over principal x 15 yrs amortized claim @ $2,395.33 monthly for 15 years to be
       paid directly to Condado 5, or its assignees, by Suiza Dairy, commencing within 30
       days from confirmation of Plan
                                                 …
       VII The step up payments to the Plan are needed to allow debtor at least 6 months
       from the date of confirmation of the Plan and cessation of collection by Condado 5 of
       Debtor’s milk profits from Suiza Dairy to increase current low milk production by
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       retaining maximum revenue for operation of dairy farm for maximized payout to both
       the bankruptcy estate & to secured creditor, Condado.

       VIII Condado 5 shall forthwith cease collection of what has been 100% of Debtor’s
       profits from milk sales to Suiza Dairy during more than two years to avoid further
       damage to Debtor’s organization effort. With the funds which Condado 5 shall cease
       to collect forthwith, Debtor will fund its Plan and inject much needed capital into the
       operation and growth of its dairy farm for a successful reorganization effort.

       IX Condado 5 to immediately reimburse Debtor for the preferential payments made by
       Suiza Dairy to Condado 5 from September 15, 2018 through at least May 31st, 2020,
       [or until the monthly collection ceases] from the sale of Debtor’s milk to Suiza Dairy
       Corporation.

       X The projections that support this Plan have factored in the anticipated
       reimbursement of preferential payments collected by Condado 5 on milk sales not
       subject to its lien from Suiza Dairy in the approximate amount of at least $77,925
       during the pendency of this case since December 2018 until May 2020 and those
       collected 90 days before the bankruptcy petition when Condado 5’s UCC had already
       lapsed. The reimbursement of these amounts are vital to the purchase of cows and
       the operation of the dairy farm in order to boost production which has suffered from
       severe stagnation as a result of payment to Condado 5 of 100% of its profits from the
       sale of milk for over two years, and no compensation to Debtor for its work effort

Id., p. 2, §§ III-X (emphasis added).

       3.       On September 11, 2020, Condado filed its Appellant Brief (Docket No. 11).

       4.       On October 9, 2020, the Cross Appellant/Appellee Chapter 12 Trustee filed his

Cross Appellant Brief (Docket No. 16).

       5.       After requesting various extensions of time (Docket Nos. 19, 22 and 25), on

January 12, 2021, the Debtor/Appellee filed its Appellee Brief (Docket No. 24).

       6.       On January 26, 2021, the Bankruptcy Court held a confirmation to consider the

Debtor/Appellee’s proposed Plan. The Bankruptcy Court denied confirmation of proposed Plan

for lack of feasibility and for failure to provide for Condado’s secured Proof of Claim No. 6. See

Minutes of Hearing Held on January 26, 2021, Bankr. Case No. 18-07304, Docket No. 211,

attached hereto as Exhibit II.

       7.       On February 8, 2021, Condado filed a Motion to Dismiss Case Under 11 U.S.C.

1208(c) (the “Motion to Dismiss”, Bankr. Case No. 18-07304, Docket No. 213, attached hereto as

Exhibit III) premised on undue delay, failure to file a confirmable plan, continuing loss or

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diminution of the estate, and unreasonable likelihood of reorganization.

        8.       Should the Bankruptcy Court grant Condado’s Motion to Dismiss (Exhibit III), the

controversies before this Honorable Court would be effectively eliminated, and the instant appeal

would become moot. See Am. Civil Liberties Union of Massachusetts v. U.S. Conference of

Catholic Bishops, 705 F.3d 44, at 53 (1st Cir. 2013).

        9.       Mootness is a constitutional guardrail against unnecessary litigation when other

methods are available to reach a resolution. See id.

                                             Prayer for Relief

        WHEREFORE, for the sake of judicial economy, Condado respectfully prays this

Honorable Court stay the instant appeal proceedings for 90 days or until the Bankruptcy Court

issues a final decision regarding Condado’s Motion to Dismiss (Exhibit III) along with any other

further relief that is fair and equitable.

        RESPECTFULLY SUBMITTED.

        In San Juan, Puerto Rico, this 12th day of February, 2021.

                                     Certificate of Service
We hereby certify on this same date, we electronically filed the foregoing with the Clerk of the
Court using the CM/ECF system, which will send notification of such filing to all CM/ECF
participants in this case. Motions and orders processed through CM/ECF are “presumed to be
served on the same date of the electronic filing”. P.R. Elec. Power Auth. v. Vitol, Inc., 298 F.R.D.
23, 26 (D.P.R. 2014).




                                                                        Attorneys for Condado
                                                                               PO Box 195168
                                                                     San Juan, PR 00919-5168
                                                                          Tel.: (787) 766-7000
                                                                          Fax: (787) 766-7001


                                                                    /s/ Gustavo A. Chico-Barris
                                                                  GUSTAVO A. CHICO-BARRIS
                                                                         USDC-PR No. 224205
                                                                        gchico@ferraiuoli.com




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